                         UNITED STATES DISTRICT COURT
                    FOR THE SOUTHERN DISTRICT OF NEW YORK


  Mahmoud KHALIL,

                 Petitioner,
                                                                 Case No. 25-cv-01935
  v.

  Donald J. TRUMP, in his official capacity as
  President of the United States; William P. JOYCE,
  in his official capacity as Acting Field Office
  Director of New York, Immigration and Customs
  Enforcement; Caleb VITELLO, Acting Director,
  U.S. Immigration and Customs Enforcement; Kristi
  NOEM, in her official capacity as Secretary of the
  United States Department of Homeland Security;
  Marco RUBIO, in his official capacity as Secretary of
  State; and Pamela BONDI, in her official capacity
  as Attorney General, U.S. Department of Justice,

                 Respondents.




                            DECLARATION OF SAMAH SISAY
I, Samah Sisay, declare under penalty of perjury, pursuant to 28 U.S.C. § 1746, that the following
is true and correct:
   1. My name is Samah Sisay. I am a licensed attorney in good standing in the state of New
      York. I am an attorney of record in the above-captioned case.
   2. I represent the petitioner, Mahmoud Khalil, in this action.
   3. I submit the following redacted documents in support of Mr. Khalil's motion for release
      under Mapp v. Reno:
   Exhibit B, MPA Confirmation for Mahmoud Khalil
   Exhibit C, Identity Documents for Mahmoud Khail
   Exhibit D, Notice to Appear for Mahmoud Khalil
   Exhibit E, Certificate of Marriage for Mahmoud Khalil & Noor Abdalla
   Exhibit F, Medical Letters for Noor Abdalla
   Exhibit G, Letters of Support for Mahmoud Khalil
   Exhibit H, Castillo-Maradiaga v. Decker, No. 21-CV-842 (KPF) (S.D.N.Y. Mar. 4, 2021)
   (ECF 8-1)


Executed on March 15, 2025                           /s/ Samah Sisay_______________________
New York, New York   Samah Sisay
                     Staff Attorney
                     Center for Constitutional Rights
